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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 22-15 APM
THOMAS E. CALDWELL                                *
         *       *      *         *    *      *        *     *         *       *     *
             UNOPPOSED REQUEST TO AMEND CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court amend the conditions of release in this

matter in two respects, and in support of said motion states as follows:

      1. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.

      2. The Defendant is scheduled to have total hip replacement surgery on May 17, 2022 at the

         Reston Hospital Center in Loudoun County, Virginia.

      3. The hospital will not permit the Defendant to wear a location monitor during surgery.

      4. The Defendant requests permission to remove the location monitor prior to his surgery

         and then reattach the location monitor upon his discharge from the hospital as approved

         by Pretrial Services.

      5. Secondly, as the Defendant’s surgery is scheduled for May 17, 2022, which is the same

         day that oral arguments are scheduled for 12(b) motions in this matter, the Defendant

         requests that his appearance at oral arguments be excused. A waiver of appearance is

         attached as Exhibit A.
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   WHEREFORE, the Defendant respectfully requests that the Court authorize, with the

approval of Pretrial Services, the temporary removal of the Defendant’s location monitor prior to

his surgery on May 17, 2022 until his discharge from the hospital. It is further requested that

the Defendant’s appearance at oral arguments on May 17, 2022 be waived.



                                                               /s/
                                                     David W. Fischer, Esq.
                                                     Federal Bar No. 023787
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                                                     7310 Ritchie Highway
                                                     Glen Burnie, MD 21061
                                                     (410) 787-0826
                                                     Attorney for Defendant

                                 CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 29th day of April, 2022, a copy of the foregoing
Unopposed Request to Amend Conditions of Release was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                  Office of the United States Attorney
                                             555 4th Street, NW
                                             Washington, DC 20001

                                                             /s/
                                                     David W. Fischer, Esq.
